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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION

UNITED STATES OF AMERICA
> or 2831 uy <55

v. CASE NO, &*\
26 U.S.C. § 5861(d)
BRANDON CLINT RUSSELL 18 U.S.C. § 842()
INDICTMENT
The Grand Jury charges:
COUNT ONE

From an unknown date, but continuing through on or about May 20,
2017, in Hillsborough County, in the Middle District of Florida, the
defendant,

BRANDON CLINT RUSSELL,

knowingly possessed firearms, as defined in 26 U.S.C. §§ 5845(a)(8) and (f),
namely, a destructive device and any combination of parts either designed and
intended for use in converting any device into a destructive device and from
which a destructive device may be readily assembled, not registered to him in
the National Firearms Registration and Transfer Record, in violation of 26
U.S.C. § 5841.

In violation of 26 U.S.C. §§ 5861(d) and 5871.
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COUNT TWO
From an unknown date, but continuing through on or about May 20,
2017, in Hillsborough County, in the Middle District of Florida, the
defendant,
BRANDON CLINT RUSSELL,
knowingly stored explosive material in a manner not in conformity with
regulations promulgated by the Attorney General and pursuant to 18 U.S.C. §
847, in that he stored high explosives, namely Hexamethylene Triperoxide
Diamine (HMTD), and blasting agents, namely ammonium nitrate, in his
residence located at 15350 Amberly Drive, Tampa, Florida, said residence not
then conforming with the requirements of Type 1 through 5 storage facilities.
In violation of 18 U.S.C. §§ 842(j), 844(b), and 27 C.F.R. § 555.201, et
seq.
FORFEITURES
1. The allegations contained in Counts One and Two of this
Indictment are hereby realleged and incorporated by reference for the purpose
of alleging forfeitures pursuant to 26 U.S.C. § 5872, 18 U.S.C. §§ 844(c) and
982(a)(2)(B), and 28 U.S.C. § 2461(c), and 49 U.S.C. § 80303.
2. Upon conviction of a violation 18 U.S.C. § 5861, the defendant,

BRANDON CLINT RUSSELL, shall forfeit to the United States, pursuant to
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26 U.S.C. § 5872 and 28 U.S.C. § 2461(c), any firearms involved or used or
intended to be used in the violation, and, pursuant to 49 U.S.C. § 80303 and
28 U.S.C. § 2461(c), any aircraft, vehicle, or vessel used to facilitate the
transportation, concealment, receipt, possession, purchase, sale, exchange, or
giving away of such firearm.

3. Upon a conviction of a violation of 18 U.S.C. §§ 842 and/or 844,
the defendant, BRANDON CLINT RUSSELL, shall forfeit to the United
States, pursuant to 18 U.S.C. § 982(a)(2)(B), any property constituting, or
derived from, proceeds obtained, directly or indirectly, as a result of such
violation, and pursuant to 18 U.S.C. § 844(c) and 28 U.S.C. § 2461(c), any
explosive materials involved or used or intended to be used in the violation.

4. If any of the property described above, as a result of any act or
omission of the defendant:

a. cannot be located upon the exercise of due diligence;

b. has been transferred or sold to, or deposited with, a third

party;
c. has been placed beyond the jurisdiction of the Court;
d. has been substantially diminished in value; or

e. has been commingled with other property which cannot be
divided without difficulty;
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the United States intends to forfeit substitute property under 26 U.S.C. § 5872
and 21 U.S.C. § 853(p), as incorporated by reference in 28 U.S.C. § 2461(c).

A TRUE BILL,

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Foreperson

W. STEPHEN MULDROW
Acting United States Attorney

By:

Haine W. Thomas

Assistant United (Fi

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CSimon A. Gaugtsh O)

Assistant United States Attorney
Chief, Economic Crimes Section

 
FORM OBD-34
June 17

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No.

UNITED STATES DISTRICT COURT
Middle District of Florida
Tampa Division

 

THE UNITED STATES OF AMERICA
vs.

BRANDON CLINT RUSSELL

INDICTMENT

Violations: 26 U.S.C. § 5861(d); 18 U.S.C. § 842(j)

A true bill,

cde Lk

Foreperson

 

 

 

 

Filed in open court this 7th day

of June 2017.

 

Clerk

 

Bail $

 

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